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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                               §
THE DAILY WIRE, LLC, et al.,                   §
                                               §
      Plaintiffs,                              §
                                               §
v.                                             § Case No. 6:23-cv-609-JDK
                                               §
UNITED STATES DEPARTMENT OF                    §
STATE, et al.,                                 §
                                               §
      Defendants.                              §
                                               §

              ORDER EXTENDING THE STAY OF PROCEEDINGS

       Before the Court is the parties’ joint motion to further stay this case for an

 additional ninety days until July 3, 2025.          Docket No. 104.        The Court

 previously granted a stay until February 18, 2025. Docket No. 99. The Court

 then extended the stay until April 4, 2025. Docket No. 103.

       Having considered the motion (Docket No. 104), the Court finds it should be

 GRANTED. No further extensions will be granted.

       Accordingly, it is hereby ORDERED that:

           1. This case is STAYED until July 3, 2025.

           2. The parties shall file a status report and further motion or proposed

               schedule for continuing the litigation by July 10, 2025.

           3. During the stay, Plaintiffs may continue to resolve issues with third

               parties related to the subpoenas previously served.




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         So ORDERED and SIGNED this 31st day of March, 2025.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE




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